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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


    INNOVATION VENTURES,
    LLC,

                     Plaintiff,
               v.                          Case No. 16-11179
                                           Hon. Terrence G. Berg
    NUTRITION SCIENCE
    LABORATORIES, LLC,
    L.O.D.C. Group, Ltd, and
    L.O.D.C., Inc.

                     Defendants.

                               JUDGMENT
      Pursuant to the Court’s previous order entering judgment for

   Defendants on Counts II and IV (Dkt. 32) and Plaintiff’s request
   that a final judgment be entered in favor of Defendants because
   “[t]he Court’s orders and judgments in the 2012 Case . . . resolved
   all of Plaintiff’s claims in the 2016 Case,” Dkt. 34, Pg. ID 1,279,
   JUDGMENT IS ENTERED in favor of Defendants on Counts I,
   III, V, VI, VII, VIII, IX, and X. Each party shall bear its own costs

   and fees. This is a final order and closes the case.


    Dated: July 17, 2017          s/Terrence G. Berg
                                  TERRENCE G. BERG
                                  UNITED STATES DISTRICT JUDGE
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                         Certificate of Service
       I hereby certify that this Order was electronically filed, and
    the parties and/or counsel of record were served on July 17,
    2017.

                               s/A. Chubb
                               Case Manager




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